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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :        Case No. 21-cr-725-1 (RDM)
                                               :
JARED SAMUEL KASTNER,                          :
                                               :
                                               :
                       Defendant.              :




                             DEFENDANT JARED SAMUEL KASTNER’S
                             NOTICE AND REQUEST FOR TRIAL BY JURY




        NOW comes Defendant, Jared Samuel Kastner, by and through his counsel of record,

John M. Pierce, Esq., respectfully submits this request and notice to this Honorable Court to

proceed to trial by a jury of the district.

        Jared Samuel Kastner was charged with violations of 18 U.S.C. 1752(a)(1), 18 U.S.C.

1752(a)(2), and with 40 U.S.C. § 5104(e)(2)(D) and (G) by and through a criminal complaint filed

on December 12, 2021.

        Therefore, notice is hereby given that Defendant Jared Samuel Kastner gives notice of

his right to a trial and hereby elects to proceed to a trial by a Jury.




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Dated: January 26, 2023
                                         Respectfully submitted,

                                         /s/ John M. Pierce
                                         John M. Pierce
                                         John Pierce Law P.C.
                                         21550 Oxnard Street
                                         3rd Floor PMB #172
                                         Woodland Hills, CA 91367
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                         CERTIFICATE OF SERVICE

 I, John M. Pierce, hereby certify that on this day, January 26, 2023, I caused a
copy of the foregoing document to be served on all counsel through the Court’s
                          CM/ECF case filing system.




                               /s/ John M. Pierce
                                John M. Pierce




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